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                                                         May 31, 2023

 VIA ECF

 Hon. Joan M. Azrack, USDJ
 United States District Court, Eastern District of New York
 100 Federal Plaza
 Central Islip, NY 11722

            Re:     D'Aguino v Garda CL Atlantic, Inc, Case No. 16-CV-00641 (JMA)(SIL)

 Dear Judge Azrack:

         I represent various Plaintiffs in the above referenced matter. The most recent briefing
 schedule called for the Plaintiffs’ motion to dismiss to be made on or before May 15, 2023. 1
 Unfortunately, due to personal issues, as well as the taking of bereavement leave, I was not able
 to serve the motion by said date. With the Defendants’ consent, I respectfully request that the
 briefing schedule be amended, nunc pro tunc as follows:

            Plaintiffs’ Motion                                  June 15, 2023

            Defendant’s Opposition                              July 15, 2023

            Plaintiffs’ Reply                                   July 30, 2023

                                                         Respectfully submitted,

                                                         Steven J. Moser
                                                         Steven J. Moser

 CC:        All counsel of record via ECF




 1
     See Scheduling Order dated April 17, 2023.



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